  Case 15-66160-jrs       Doc 56-1 Filed 03/16/21 Entered 03/16/21 11:34:35              Desc
                             Certificate of Service Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          :   CHAPTER 7
                                                :
SHARON MARIE WINSTON,                           :   CASE NO. 15-66160-JRS
                                                :
         Debtor.                                :
                                                :

                                CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) by first
class U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated
on the attached Exhibit “A”.

         This 16th day of March, 2021.


                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
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                                Exhibit “A”
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                                     Certificate of Service Page 3 of 3
Capital One NA                       CITIBANK                          Citibank/The Home Depot
c/o Becket and Lee LLP               PO BOX 790034                     Citicorp Credit Srvs
PO Box 3001                          ST LOUIS, MO 63179-0034           Centralized Bankrup
Malvern, PA 19355-0701                                                 Po Box 790040
                                                                       Saint Louis, MO 63179-0040
Dept of Justice, Tax Div             Discover Bank                     Discover Fin Svcs Llc
Civil Trial Section, Southern        Discover Products Inc             Po Box 15316
PO Box 14198                         PO Box 3025                       Wilmington, DE 19850-5316
Ben Franklin Sta                     New Albany, OH 43054-3025
Washington, DC 20044
GA Department of Revenue             GA Dept of Revenue                Internal Revenue Service
Bankruptcy Unit                      Compliance Division               P.O. Box 7346
1800 Century Blvd.                   Arcs Bankruptcy                   Philadelphia, PA 19101-7346
Suite 17200                          1800 Century Blvd NE, Ste 9100
Atlanta, GA 30345-3205               Atlanta, GA 30345-3202
Internal Revenue Service             Jonathan A. Proctor               Kohls/capone
401 W Peachtree St. NW               The Semrad Law Firm, LLC          N56 W 17000 Ridgewood Dr
Stop 334-D                           Suite 300                         Menomonee Falls, WI 53051
Atlanta, GA 30308                    303 Perimeter Center North
                                     Atlanta, GA 30303-1404
LCS Capital, LLC                     Michael J. Bargar                 Office of the Atty General
c/o LCS Financial Services Corp      Arnall Golden Gregory, LLP        40 Capitol Square, SW
6782 S. Potomac St # 100             Suite 2100                        Atlanta, GA 30334-9057
Centennial, CO 80112-4585            171 17th Street, N.W.
                                     Atlanta, GA 30363-1031
Office of the US Trustee             PYOD, LLC its succ. And           Sallie Mae
362 Richard Russell Building         assigns assi of Citibank, N.A.    300 Continental Dr
75 Ted Turner Drive, SW              Resurgent Capital Services        Newark, DE 19713-4322
Atlanta, GA 30303-3315               PO Box 19008
                                     Greenville, SC 29602-9008
Sharon Marie Winston                 Special Assistant U.S. Attorney   Synchrony Bank
1117 Berryhilll Drive                401 W. Peachtree Street, NW       JC Penney
Lithonia, GA 30058-3016              STOP 1000-D, Suite 600            Attn: Bankruptcy Dept
                                     Atlanta, GA 30308                 Po Box 103104
                                                                       Roswell, GA 30076-9104
Synchrony Bank/JC Penny              U. S. Attorney                    Unvl/citi
Attention: Bankruptcy                600 Richard B. Russell Bldg.      Attn.: Centralized Bankruptcy
Po Box 103104                        75 Ted Turner Drive, SW           Po Box 20507
Roswell, GA 30076-9104               Atlanta, GA 30303-3315            Kansas City, MO 64195


US Attorney’s Offic                  Wells Fargo
75 Ted Turner Deive, S.W.            PO Box 48724
Suite 600 U.S. Courthouse            Kansas City, MO 64188
Atlanta, GA 30303-3315
